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 6                                 UNITED STATES DISTRICT COURT

 7                                        DISTRICT OF NEVADA

 8    UNITED STATES OF AMERICA,                          )
                                                         )
 9                           Plaintiff,                  )
                                                         )
10            v.                                         )         2:10-CR-565-RLH (PAL)
                                                         )
11    ANDREW KAUFMAN,                                    )
                                                         )
12                           Defendant.                  )

13                      AMENDED PRELIMINARY ORDER OF FORFEITURE

14            This Court finds that on December 23, 2010, defendant ANDREW KAUFMAN pled guilty

15    to Counts One and Thirteen of a Fourteen-Count Superseding Criminal Indictment charging him in

16    Count One with Conspiracy in violation of Title 18, United States Code, Section 371 to: Deal

17    Firearms Without a License in violation of Title 18, United States Code, Sections 922(a)(1)(A) and

18    923(a); Transport a Destructive Device Without a License in violation of Title 18, United States Code,

19    Section 922(a)(4); Distribute Explosive Materials by a Non-Licensee in violation of Title 18, United

20    States Code, Section 842(a)(3)(B); Transport Explosive Materials by a Non-Licensee in violation of

21    Title 18, United States Code, Section 842(a)(3)(A); Possess a Machine Gun in violation of Title 18,

22    United States Code, Section 922(o); Possess an Unregistered NFA Firearm in violation of Title 26,

23    United States Code, Sections 5841 and 5861(d); Transfer Illegally a Machine Gun in violation of Title

24    18, United States Code, Section 922(o); Transfer a Firearm in violation of the NFA in violation of

25    Title 26, United States Code, Sections 5812, 5841, and 5861(e); Transport in Interstate Commerce an

26    Unregistered NFA firearm in violation of Title 26, United States Code, Sections 5841 and 5861(j);
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 1    Possess Unlawfully Imported Firearm in violation of Title 26, United States Code, Sections 5844 and
 2    5861(k); Possess a Stolen Firearm in violation of Title 18, United States Code, Section 922(j); and in
 3    Count Thirteen with Illegal Transfer of a Machine Gun in violation of Title 18, United States Code,
 4    Section 922(o).
 5              This Court finds defendant ANDREW KAUFMAN agreed to the forfeiture of the property
 6    set forth in Forfeiture Allegations of the Superseding Criminal Indictment.
 7              This Court finds, pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2), the United States of
 8    America has shown the requisite nexus between property set forth in the Forfeiture Allegations of the
 9    Superseding Criminal Indictment and the offense to which defendant ANDREW KAUFMAN pled
10    guilty.
11              The following assets are subject to forfeiture pursuant to Title 18, United States Code, Section
12    924(d)(1) and Tile 28, United States Code, Section 2461(c); Title 18, United States Code, Section
13    981(a)(1)(C) and Title 28, United States Code, Section 2461(c); Title 21, United States Code, Section
14    853(p); and Title 26, United States Code, Section 5872(a) and Title 28, United States Code, Section
15    2461(c):
16                    1.      Romarm Model GP-WASR AK-47 style 7.62mm rifle, serial # PU-6692-85;
17                    2.      YUGO model 59/66, 7.62mm rifle, serial # 551451;
18                    3.      Norinco, Model SKS, 7.62mm rifle, serial # 20029181;
19                    4.      IZHMASH model Saiga, 7.62 mm rifle, serial # H03104475;
20                    5.      Uzi 9mm semi-auto pistol, serial # UP03531;
21                    6.      JLD Enterprises Model PTR91, .308 caliber semi-auto rifle, serial # A1341;
22                    7.      Harrington and Richardson, Model Handi Rifle, .223 caliber rifle, serial #
23                            HX200769;
24                    8.      Ruger Mini-14, .223 caliber semi-auto rifle, serial # 185-35560;
25                    9.      UNK, M1, 30 Cal rifle, serial # 8847153;
26    ...

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 1               10.   Poland, Model PMKMS (AKM-type), 7.62 x 39 mm caliber machine gun,
 2                     serial # KM15107; with one 30-round magazine;
 3               11.   Romania, Model AIM / PM63 (AKM-type), 7.62 x 39 mm caliber machine gun,
 4                     serial # FG0211; with one 30-round magazine;
 5               12.   Tula, Model AKM, 7.62 x 39 caliber machine gun, serial # 596014;
 6               13.   Izhevsk, Model AKMS, 7.62 x 39 caliber machine gun, serial # 219291;
 7               14.   Vulcan Arms Model V15, 5.56mm, full-auto machine gun rifle, serial #
 8                     P8244;
 9               15.   Romanian, Model AIM / PM63 (AKM-type), 7.62 x 39mm caliber machine
10                     gun, serial # NU4956;
11               16.   Tula, model AKM, 7.62 x 39mm caliber machine gun, serial # 981151;
12               17.   Izhevsk, Mod. AKM, 7.62 x 39 mm cal. machine gun, identified by number
13                     B1601;
14               18.   Bulgarian, Mod. AKK (AK-47), 7.62 x 39mm cal. machine gun, serial # KO
15                     154011;
16               19.   Romanian, Model AIMS/PM65 (AKM-type), 7.62x39mm cal. machine gun,
17                     serial # AF2192
18               20.   AKM-Type, 7.62x39 mm cal. machine gun, maker uncertain, serial # UM-
19                     7313-05;
20               21.   Iraq, Model Tabuk (AKM-Type), 7.62x39mm cal. machine gun, serial #
21                     8037669;
22               22.   Zastava Arms, Model M70AB2, 7.62x39mm cal. machine gun, serial # B-
23                     95917;
24               23.   Tula, Model AKM, 7.62 X 39mm caliber machine gun, serial # 842782;
25               24.   Tula, Model AKM, 7.62 X 39mm machine gun, serial # 596085;
26               25.   Norinco, Model 56-1 7.62 X 39mm caliber machine gun, serial # 26022877;

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 1               26.   Tula, Model AKM 7.62 X 39mm caliber machine gun, serial # 597584;
 2               27.   Zastava Arms, model M70AB2, 7.62 X 39mm caliber machine gun, serial
 3                     # B-96106;
 4               28.   Zastava Arms, Model M70AB2, 7.62 X 39mm caliber machine gun, serial
 5                     # 602379;
 6               29.   Ruger, P95DC,, 9mm pistol, serial # 314-38221;
 7               30.   Ruger, P95DC, 9mm pistol, serial # 315-58276;
 8               31.   Ruger, P95DC, 9mm pistol, serial # 315-65017;
 9               32.   Ruger, P95DC, 9mm, serial # 314-39509;
10               33.   Ruger, P95DC, 9mm, serial # 315-65022;
11               34.   Arms Corps M-21/14 7.62 rifle, serial # 11738;
12               35.   Savage 300 Rem. rifle, serial # F936150;
13               36.   Colt, AT-15 .223 rifle, serial # LBD032093;
14               37.   Ithaca, unknown caliber shotgun, serial # 371290356;
15               38.   Ruger P95, 9mm serial # 314-34728;
16               39.   Deringer, .45 caliber pistol, serial # 48977;
17               40.   Smith & Wesson, .357 revolver, serial # BNW1214;
18               41.   Masterpiece Arms, .45 caliber pistol with extension, serial # A4802;
19               42.   Remington, Model 742, serial # 4771;
20               43.   Ruger, model P95DC, 9mm pistol, serial # 314-34729;
21               44.   Ruger, model P95DC, 9mm pistol, serial # 315-65178;
22               45.   Sig Sauer, model P220, .45 caliber pistol, serial # G369927;
23               46.   Unknown manufacturer, unknown model, unknown caliber rifle, serial #
24                     61134;
25               47.   New England Arms, model P, 12 GA shotgun, serial # NM323393;
26    ...

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 1               48.   Unknown manufacturer, unknown model, unknown caliber rifle, serial #
 2                     32413;
 3               49.   Unknown manufacturer, model 98, unknown caliber rifle, serial # T9348;
 4               50.   Winchester, model 1200, 12 GA shotgun, serial # L1156207;
 5               51.   Romanian, model PSL rifle, 7.62 x 54R caliber machine gun Serial Number:
 6                     N4250;
 7               52.   Unknown manufacturer, unknown model, unknown caliber machine gun,
 8                     serial # F-3452;
 9               53.   Unknown manufacturer, unknown model, unknown caliber machine gun,
10                     serial # 56401731;
11               54.   Unknown manufacturer, unknown model, unknown caliber machine gun,
12                     serial # 598675;
13               55.   Ruger, model P95DC, 9mm pistol, serial # 315-65182;
14               56.   Star, Bonifacio Echeverria, model Gold Setra 2002, 9mm hand gun, serial
15                     # 60519;
16               57.   Beretta, Pietro S.P.A., model 92S, 9mm hand gun, serial # X22657Z;
17               58.   Ruger, model P95DC, 9mm caliber pistol, serial # 315-63353;
18               59.   Unknown manufacturer, model MP-5, 9mm caliber machine gun, serial
19                     # C49892;
20               60.   Beretta, Pietro S.P.A., model 12S, 9mm caliber machine gun, serial #
21                     F08191;
22               61.   Unknown manufacturer, unknown model, unknown caliber machine gun,
23                     serial # U6335;
24               62.   Unknown manufacturer, model M92, unknown caliber machine gun, serial
25                     # 83566;
26    ...

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 1                   63.    Unknown manufacturer, model M92, unknown caliber machine gun, serial
 2                          # 83587;
 3                   64.    Unknown manufacturer, model M92, unknown caliber machine gun, serial
 4                          # 83683;
 5                   65.    Unknown manufacturer, model M92, unknown caliber machine gun,
 6                          serial # 83692;
 7                   66.    Unknown manufacturer, model M92, unknown caliber machine gun, serial
 8                          # 82296;
 9                   67.    Unknown manufacturer, unknown model, unknown caliber machine gun,
10                          serial # SH2783;
11                   68.    Ruger, model P95DC, 9mm caliber hand gun, serial # 314-35165;
12                   69.    Glock, model 19, 9mm caliber hand gun, serial # GND176;
13                   70.    Ruger, model P95DC, 9mm caliber hand gun, serial # 314-39389;
14                   71.    Ruger, model P95DC, 9mm caliber pistol, serial # 315-64373;
15                   72.    Astra, model 800, 9mm handgun, serial # 830267;
16                   73.    any and all ammunition;
17                   74.    $25,584.00 in United States Currency; and
18                   75.    an in personam criminal forfeiture money judgment of $38,220.00 in United
19                          States Currency (“property”).
20            This Court finds the United States of America is now entitled to, and should, reduce the
21    aforementioned property to the possession of the United States of America.
22            NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the
23    United States of America should seize the aforementioned property.
24            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED all right, title, and interest of
25    ANDREW KAUFMAN in the aforementioned property is forfeited and is vested in the United States
26    of America and shall be safely held by the United States of America until further order of the Court.

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 1            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the United States of America
 2    shall publish for at least thirty (30) consecutive days on the official internet government forfeiture
 3    website, www.forfeiture.gov, notice of this Order, which shall describe the forfeited property, state
 4    the time under the applicable statute when a petition contesting the forfeiture must be filed, and state
 5    the name and contact information for the government attorney to be served with the petition, pursuant
 6    to Fed. R. Crim. P. 32.2(b)(6) and Title 21, United States Code, Section 853(n)(2).
 7            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a petition, if any, must be filed
 8    with the Clerk of the Court, 333 Las Vegas Boulevard South, Las Vegas, Nevada 89101.
 9            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a copy of the petition, if any,
10    shall be served upon the Asset Forfeiture Attorney of the United States Attorney’s Office at the
11    following address at the time of filing:
12                   MICHAEL A. HUMPHREYS
                     Assistant United States Attorney
13                   DANIEL D. HOLLINGSWORTH
                     Assistant United States Attorney
14                   Lloyd D. George United States Courthouse
                     333 Las Vegas Boulevard South, Suite 5000
15                   Las Vegas, Nevada 89101.
16            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the notice described herein
17    need not be published in the event a Declaration of Forfeiture is issued by the appropriate agency
18    following publication of notice of seizure and intent to administratively forfeit the above-described
19    property.
20                        14th day of __________________,
              DATED this ______            April          2010.
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24                                                   UNITED STATES DISTRICT JUDGE
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 1                                        PROOF OF SERVICE
 2            I, Heidi Skillin, certify that the following individuals were served with copies of the
 3    Preliminary Order of Forfeiture on March 18, 2011 by the below identified method of service:
 4            E-mail/ECF
 5            James F. Pokorny
              Law Office of James F/ Pokorny
 6            110 West C. Street
              San Diego, CA 92101
 7            Email: james@jamespokornylaw.com
              Counsel for Nicholas Bickle
 8
              Patrick E. McDonald
 9            Steven B. Wolfson, Chtd.
              601 South 7th Street
10            Las Vegas, NV 89101
              Email: pat@wolfsonforyourdefense.com
11            Counsel for Nicholas Bickle
12            Ben Nadig
              520 South 4th Street
13            Las Vegas, NV 89101
              Email: bennadig@yahoo.com
14            Counsel for Andrew Kaufman
15            Shari L. Kaufman
              William C. Carrico
16            Federal Public Defender
              411 E. Bonneville Ave.
17            Suite 250
              Las Vegas, NV 89101
18            Email: ECF_Vegas@FD.ORG
              Counsel for Richard Paul
19
                                                   /s/HeidiSkillin
20                                                HEIDI SKILLIN
                                                  Forfeiture Support Associate Clerk
21

22

23

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